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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    MDL 2724
IN RE: GENERIC PHARMACEUTICALS
                                                    16-MD-2724
PRICING ANTITRUST LITIGATION
                                                    HON. CYNTHIA M. RUFE


THIS DOCUMENT RELATES TO:

ALL ACTIONS

                     DEFENDANT PERRIGO NEW YORK, INC.’S
                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned attorneys of record state

that Defendant Perrigo New York, Inc. is a wholly-owned subsidiary of Perrigo Company plc.

Perrigo Company plc is a publicly held corporation, and no publicly held corporation owns 10%

or more of the stock of Perrigo Company plc.

Dated: July 21, 2017                           Respectfully submitted,


                                               /s/ J. Clayton Everett, Jr.
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                             Attorneys for Defendant Perrigo New York, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of July, 2017, I caused the attached document to be

filed electronically with the Clerk of Court by using the CM/ECF system which will serve a copy

on all interested parties registered for electronic filing and is available for viewing and

downloading from the ECF system.

                                                           /s/ Tracey F. Milich
                                                           Tracey F. Milich




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